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                                            September 16, 2022


 Via ECF
 Hon. Ann M. Donnelly
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:     Haller et. al. v. U.S. Department of Health and Human Services et. al.,
                Case No. 2021-cv-07208 (AMD) (AYS); Motion to Withdraw

 Dear Judge Donnelly:

        This firm represents Plaintiffs in the above-captioned matter. We write pursuant to Local
 Rule 1.4 to request that our law firm be permitted to withdraw as Plaintiffs’ counsel, and that the
 matter be stayed for 30 days to permit the Plaintiffs to retain other counsel if they so choose.

         Plaintiffs have terminated our representation. In light of the Court’s August 10, 2022
 Decision and Order dismissing Plaintiffs’ claims, 1 we do not anticipate that any prejudice to any
 party would be occasioned by this request. See, e.g., United States v. All Right, Title & Interest in
 the Real Prop. & Appurtenances Thereto Known As 35–37 East Broadway, 12 Civ. 4034 (HB),
 2013 WL 4006073, *8 (S.D.N.Y. Aug. 6, 2013) (“[As Plaintiff’s claims have been] dismissed and
 counsel has been instructed to stop working on this case […] satisfactory reasons for withdrawal
 exist.”).

        We have provided Plaintiffs with a copy of their case file, and we are not asserting a
 charging lien. We are serving a copy of this motion on Plaintiffs simultaneously with the filing of
 this motion.

        In light of the foregoing, we respectfully request that the Court endorse this letter granting
 our motion to withdraw.




 1
     The August 10 Decision dismissed Plaintiffs’ Seventh Amendment and takings claims with prejudice,
 and dismissed Plaintiffs’ due process claim without prejudice.
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       We thank the Court for its attention to this request.



                                                     Respectfully,

                                                     /s/ Justin T. Kelton
                                                     Justin T. Kelton




 Cc:   All counsel of record (via ECF)

       Plaintiffs (via email and First Class Mail)
